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                Exhibit 23




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Revised Entries from CID Log and First Two Litigation Logs – Confidential

     Control           Beginning          Parent     Parent             Date       Custodians          Email From / Author             Email To       Email CC   Email              Privilege Description                    Privilege(s)    Redacted
     Number              Bates           Control    Beginning                                                                                                    BCC                                                          Asserted
                                         Number       Bates
  GGPL-                                                             5/23/2019     Donald                                                                                 Memorandum providing analysis of 2007 FTC        Attorney Client
  1080064970                                                        17:12         Harrison; Hal                                                                          investigation materials compiled in connection   Communication
                                                                                  Varian                                                                                 with ongoing DOJ investigation prepared at or
                                                                                                                                                                         under the direction of counsel revealing legal
                                                                                                                                                                         advice of Kevin Yingling ESQ and Matthew
                                                                                                                                                                         Bye ESQ re contents thereof.




Privilege Log (Vol. 17) – Confidential

     Control            Beginning         Parent      Parent            Date       Custodians          Email From / Author            Email To        Email CC   Email               Privilege Description                    Privilege(s)   Redacted
     Number               Bates          Control     Beginning                                                                                                   BCC                                                           Asserted
                                         Number        Bates
 GGPL-                                                              6/3/2019      Emily Moxley;   nick fox                   crystal dahlen                              Email seeking legal advice of Milana Homsi       Attorney Client
 1030507240                                                         20:57         Nick Fox                                                        ;                      McCullagh ESQ re manner of proceeding with       Communications;
                                                                                                                             emily moxley                                response to internal questions about potential   Attorney Work
                                                                                                                                                  ;                      DOJ investigation                                Product
                                                                                                                             Milana Homsi McCullagh
                                                                                                                             ESQ




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